Case 2:08-cr-00137-WFN   ECF No. 2046   filed 05/06/10   PageID.8917 Page 1 of 6
Case 2:08-cr-00137-WFN   ECF No. 2046   filed 05/06/10   PageID.8918 Page 2 of 6
Case 2:08-cr-00137-WFN   ECF No. 2046   filed 05/06/10   PageID.8919 Page 3 of 6
Case 2:08-cr-00137-WFN   ECF No. 2046   filed 05/06/10   PageID.8920 Page 4 of 6
Case 2:08-cr-00137-WFN   ECF No. 2046   filed 05/06/10   PageID.8921 Page 5 of 6
Case 2:08-cr-00137-WFN   ECF No. 2046   filed 05/06/10   PageID.8922 Page 6 of 6
